                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:                                              Case No. 23-43403-mlo
                                                    Chapter 11
Ark Laboratory, LLC,                                Hon. Maria L. Oxholm

                           Debtor.



              CORRECTED NOTICE OF OCTOBER 30, 2023
      FIRST INTERIM FEE APPLICATION OF TAFT STETTINIUS &
      HOLLISTER, LLP FOR PAYMENT OF COMPENSATION AND
   REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS OF ARK LABORATORY,
   LLC FOR THE PERIOD FROM MAY 11, 2023 TO SEPTEMBER 30, 2023
              WITH RESPECT TO THE COURT’S ZIP CODE

         The undersigned counsel for the Official Committee of Unsecured Creditors
  of Ark Laboratory, LLC (the “Committee”) filed papers with the court entitled
  First Interim Fee Application of Taft Stettinius & Hollister, LLP for Payment of
  Compensation and Reimbursement of Expenses as Counsel to the Official
  Committee of Unsecured Creditors of Ark Laboratory, LLC for the period from
  May 11, 2023 to September 30, 2023 (the “Application”) on October 30, 2023
  [ECF No. 328]. Pursuant to the Application, counsel for the Committee seeks
  allowance and payment of fees and expenses incurred in its representation of the
  Committee the period from May 11, 2023 through September 30, 2023 as listed
  below:
   Professional (name and address):             Taft Stettinius & Hollister, LLP
                                                27777 Franklin Road, Suite 2500
                                                Southfield, MI 48034

   Fees requested:                              $282,188.00


   Expenses requested:                          $337.70



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 Fees and expenses previously                     None. This is the first interim fee
 allowed by Court:                                application filed by counsel.


      Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.)
        If you do not want the court to grant the Application, originally submitted
for filing on October 30, 2023 [ECF No 328], or if you want the court to consider
your views on the Application, within twenty-one (21) days from the date of the
Application, you or your attorney must:
       1.     File with the court a written response or an answer, explaining your
position at:1

                            United States Bankruptcy Court
                            211 West Fort Street
                            Detroit, Michigan 48226

       If you mail your response to the court for filing, you must mail it early
enough so the court will receive it on or before the date stated above. All attorneys
are required to file pleadings electronically.

        You must also send a copy to:
                            Taft Stettinius & Hollister, LLP
                            Kimberly Ross Clayson and Judith Greenstone Miller
                            27777 Franklin, Suite 2500
                            Southfield, Michigan 48034
      2.    If a response or answer is timely filed and served, the clerk will
schedule a hearing on the motion and you will be served with a notice of the date,
time and location of the hearing.

      If you or your attorney do not take these steps, the court may decide
that you do not oppose the relief sought in the motion or objection and may
enter an order granting that relief.


1 Response or answer must comply with F. R. Civ. P. 8(b), (c) and (e)



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                               Respectfully submitted by,
                               TAFT STETTINIUS & HOLLISTER, LLP

Dated: November 6, 2023        /s/ Judith Greenstone Miller
                               Judith Greenstone Miller (P29208)
                               Kimberly Ross Clayson (P69804)
                               27777 Franklin, Suite 2500
                               Southfield, MI 48034
                               (248) 351-3000
                               jgmiller@taftlaw.com
                               kclayson@taftlaw.com
                               Attorneys for the Committee




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In re:                                                 Case No. 23-43403-mlo
                                                       Chapter 11
Ark Laboratory, LLC,                                   Hon. Maria L. Oxholm

                            Debtor.

                              CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2023, my office electronically filed the

  Corrected Notice Of October 30, 2023 First Interim Fee Application Of Taft

  Stettinius & Hollister, LLP For Payment Of Compensation And Reimbursement Of

  Expenses As Counsel To The Official Committee Of Unsecured Creditors Of Ark

  Laboratory, LLC For The Period From May 11, 2023 To September 30, 2023 With

  Respect To The Court’s Zip Code with the Clerk of the Court which sends notices

  by operation of the Court’s electronic filing service to all ECF participants

  registered to receive notice in this case.

                                    Respectfully submitted by,
                                    TAFT STETTINIUS & HOLLISTER, LLP
  Dated: November 6, 2023           /s/ Judith Greenstone Miller
                                    Judith Greenstone Miller (P29208)
                                    Kimberly Ross Clayson (P69804)
                                    27777 Franklin, Suite 2500
                                    Southfield, MI 48034
                                    (248) 351-3000
                                    jgmiller@taftlaw.com
                                    kclayson@taftlaw.com
                                    Attorneys for the Committee


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